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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                                                      MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                                   SECTION “N-5"

                                                                       JUDGE ENGELHARDT

                                                                       MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Deborah J. Smith, et al v Frontier RV, Inc., et al.,
Case No. 2:10-cv-1355
______________________________________________________________________________

                            RULE 7.6 CERTIFICATE
______________________________________________________________________________

       Pursuant to Local Rule 7.6, undersigned counsel for Plaintiff certifies that David Kurtz,

liaison counsel for the Contractor Defendants, Henry T. Miller, counsel for the United States

Department of Justice, and Randall Mulcahy, counsel for Frontier, have been contacted and state

that they are not opposed to Plaintiffs’ Second Motion for Extension of Time to Serve the

Defendants.

       Respectfully submitted, this the 23 day of June, 2010.


                                                    By:            s / Rose M. Hurder
                                                                   Rose M. Hurder

OF COUNSEL:

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2010 I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants. I further certify that I mailed the foregoing document and

the notice of electronic filing by first class mail to all counsel of record who are non-CM/ECF

participants.



                                                                    s / Rose M. Hurder
                                                                    ROSE M. HURDER




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